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                                                                                       VIA CM/ECF



June 20, 2025
The Honorable Yvonne Gonzalez Rogers
District Judge of the Northern District of California
Oakland Courthouse, Courtroom 1 – 4th Floor
1301 Clay Street, Oakland, CA 94612


Re:    Musk, et al. v. Altman, et al., Case No. 4:24-cv-04722-YGR
Dear Judge Gonzalez Rogers,
       Pursuant to Paragraph 8(b) of the Court’s Standing Order in Civil Cases, the OpenAI
Defendants respectfully submit this letter brief to seek the Court’s assistance with two discovery
issues on which they have reached impasse: (i) Plaintiff Musk’s unwillingness to collect and
search—as a component of party discovery—all of his relevant personal devices and business
email accounts maintained at any of his entities; and (ii) Plaintiffs’ refusal to facilitate service of
a subpoena on Jared Birchall.

       Counsel for the OpenAI Defendants (William Frentzen, David Wiener, Bradley Wilson,
and Nathaniel Cullerton) and Plaintiffs (Jaymie Parkkinen and Spencer Gibbs) met and conferred
by videoconference on June 12 and June 13 and exchanged correspondence both before and after
conferencing in an effort to resolve these disputes. The OpenAI Defendants and Plaintiffs have
been unable to reach agreement on these issues as detailed below.

        Counsel for the OpenAI Defendants are mindful of the joint letter procedure outlined in
Paragraph 8(b) of the Court’s Standing Order and attempted to comply with it. Counsel for the
OpenAI Defendants provided Plaintiffs’ counsel with a draft of this letter brief on Wednesday,
June 18. Counsel for the OpenAI Defendants told Plaintiffs’ counsel that the OpenAI Defendants
intended to file the letter brief today and asked that Plaintiffs’ counsel provide a draft of their
section by today. Counsel for the OpenAI Defendants reiterated their request for Plaintiffs’ section
yesterday and followed up again this afternoon, but Plaintiffs have not provided their section or
even acknowledged those follow-up messages. Therefore, the OpenAI Defendants have proceeded
with filing this letter brief without a statement on Plaintiffs’ behalf.
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                                 OpenAI Defendants’ Statement
        Background. Elon Musk brought this case, which is proceeding on an expedited schedule
that includes a July 14 deadline for the substantial completion of document discovery. That
deadline is now only 24 days away, and despite the diligent efforts of the OpenAI Defendants,
Musk and his controlled entities have not complied with even the most basic discovery obligations.
        The OpenAI Defendants served party discovery on April 7 and began serving subpoenas
on Musk’s companies on April 8. More than two months later, Musk, xAI, and Shivon Zilis have
produced only 345 total documents—a pre-packaged set of emails that were compiled last year,
long before discovery opened in this case, to use in court filings. Musk’s companies, meanwhile,
have produced zero documents: nothing from Musk’s accounts; nothing from any other custodian;
and no documents related to the donations Musk alleges. Musk’s trial counsel has also refused to
accept service of a subpoena on Jared Birchall—the head of Musk’s family office, Treasurer of
Musk’s private foundation, CEO of Musk-owned Neuralink, and CFO of Plaintiff xAI—even
though that same counsel represents three of those entities in this case. Depositions start in less
than six weeks.
        Although it took several weeks of asking questions for the OpenAI Defendants to uncover
the facts, it is now clear that Musk and his counsel do not plan to collect any documents from
Musk. They have not collected and are refusing to collect, review, or produce emails that Musk
sent or received using his Tesla, SpaceX, Neuralink, xAI, Excession (Musk’s family office), and
Musk Foundation email accounts—even though Musk uses these accounts as his principal means
of communication, including about OpenAI, and could with a snap of his fingers cause the
responsive files to be turned over. Musk has forced the OpenAI Defendants to instead pursue third-
party subpoenas, only to then play a shell game, working with the entities to resist discovery. These
entities have missed deadlines; complained about resource constraints; and claimed non-party
status to try to limit their obligations.
        The OpenAI Defendants, by contrast, are working hard to satisfy their discovery
obligations. They have communicated their positions on scope with clarity from the outset and
have promptly responded to concerns raised by Plaintiffs—offering compromises where
appropriate. The OpenAI Defendants have also agreed to review tens of thousands of emails, Slack
messages, and electronic files from directors and executives, plus text messages from Sam Altman
and Greg Brockman and extensive other corporate records.
       Musk’s refusal to treat discovery as a two-way street is familiar. In the lawsuit arising out
of Musk’s acquisition of Twitter, the court criticized Musk’s “discovery conduct” as “suboptimal,”
finding that Musk “fell short in [his] obligations” despite having “far less to do” in document
discovery, Twitter, Inc. v. Musk, Dkt. 221, C.A. No. 2022-0613-KSJM (Del. Ch. Aug. 23, 2022).
More recently, in a case pending in this District, Judge Breyer ordered Musk to reappear for
questioning after Musk walked out in the middle of his own deposition without any explanation.
See Pampena v. Musk, No. 22-cv-05937, Dkt. 202, 204, 206 (N.D. Cal.). Musk is once again
stonewalling in this case, but now doing so as plaintiff—while seeking to impose substantial
burdens on others.

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       Against this backdrop, the OpenAI Defendants seek an order (i) compelling Musk to collect
and search as a component of party discovery all of his relevant personal devices and email
accounts maintained at any of his entities; and (ii) requiring Plaintiffs to facilitate Birchall’s
prompt compliance with the OpenAI Defendants’ subpoena.
        Musk’s Email Accounts. Rule 34 obligates parties to collect, search, and review
documents in their “possession, custody, or control.” An individual in a position of control over a
corporate entity—as Musk is with respect to each of his companies and entities—has custody or
control of the entity’s documents. See, e.g., Welter v. Hurt, 2024 WL 5372778, at *6 (C.D. Cal.
Oct. 25, 2024) (individual “control[le]d any responsive documents [his entity] may possess
because he owned the company” and held “roles as CEO, president, treasurer, and director”)
(collecting cases).
        Contradicting his current position, Musk has previously submitted sworn affidavits—one
executed personally—acknowledging his unique and total control over his business email
accounts. See, e.g., Twitter, Inc. v. Musk, Dkt. 513, C.A. No. 2022-0613-KSJM (Del. Ch. Sept. 15,
2022) (Musk Affidavit) (“Due to my role . . . nobody associated with Tesla is authorized to access
my Tesla Email Accounts without my consent[.]”). And another court in this District recently
rejected the very maneuver that Musk is attempting here, holding that “if [Musk] uses the business
account somewhere else . . . then he’s going to have to produce those business accounts.” X Corp.
v. Bright Data Ltd., C.A. No. 3:23-cv-03698-WHA, Dkt. 237 at 7 (N.D. Cal. Mar. 12, 2025).
       There is no legal or practical justification for Musk’s failure to ensure a complete collection
and review of his custodial documents from all of his controlled entities.
         Birchall. Birchall is an important witness to many relevant events. He has been Musk’s
right hand for years, with deep involvement in many of Musk’s financial and business activities.
For example, as Treasurer of the Musk Foundation and head of Musk’s family office, Birchall
facilitated the donations that Musk alleges to be at the heart of this dispute. And as CFO of Plaintiff
xAI, Birchall is also likely to have been directly involved in Musk’s sham bid to purchase OpenAI.
        On June 13, 2025, the OpenAI Defendants sent a document and deposition subpoena for
Birchall to Plaintiffs’ counsel and asked them to accept service. This was an eminently reasonable
request given Birchall’s long-time association with Musk, his involvement in key events, and his
senior position at entities that Musk controls and that Musk’s counsel represents in this case. But
Plaintiffs’ counsel refused.
        Musk and xAI have the power to facilitate service on Birchall. See, e.g., All-Tex, Inc. v.
Aramsco, Inc., 2018 WL 11473762, at *2 (C. D. Cal. Mar. 14, 2018) (“[I]t is generally expected
that a [party] may compel its employees to testify”). They should be ordered to do so promptly
rather than requiring the OpenAI Defendants to chase Birchall’s evidence.
                                            * * * * *
     Prompt resolution of these critical threshold issues is needed to ensure that the OpenAI
Defendants obtain a full and fair record before the expedited discovery window closes.


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                          Sincerely,


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